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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

         v.                                           Criminal Action No. 21-105 (JMC)

 HENRY PHILLIP MUNTZER
 (a/k/a “HANK MUNTZER”),

                          Defendant.


                                       PRETRIAL ORDER

       As discussed during the Video Status Conference held in this case on June 21, 2022, and

in order to administer the trial of this case in a manner that is fair and just to the Parties and is

consistent with the goal of completing the trial in the most efficient manner, it is hereby

       ORDERED that the trial of this case will commence on February 6, 2023, at 9:30 AM

in Courtroom 21. It is further

       ORDERED that any motions in limine are due by January 6, 2023. Oppositions are due

by January 16, 2023. It is further

       ORDERED that a pretrial conference will be held on January 24, 2023, at 1:00 PM via

Zoom. It is further

       ORDERED that the Parties’ joint pretrial statement is due by January 13, 2023. In

addition to filing the joint pretrial statement on the public docket, the Parties will submit a version

of the statement in Microsoft Word format to Cobb_Chambers@dcd.uscourts.gov. The joint

pretrial statement will include:

              a. written statements (i) by the Government setting forth the terms of any plea offer

                 made to Defendants and the date such offer was made and lapsed; and (ii) by




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    Defense Counsel indicating (1) the dates on which the terms of any plea offer were

    communicated to Defendants and rejected, see Missouri v. Frye, 566 U.S. 134, 145

    (2012) (“[D]efense counsel has the duty to communicate formal offers from the

    prosecution to accept a plea on terms and conditions that may be favorable to the

    accused.”), and (2) the potential sentencing exposure communicated by the Defense

    Counsel to Defendants and the date on which such communication occurred, see

    United States v. Rashad, 331 F.3d 908, 912 (D.C. Cir. 2003);

 b. a one-paragraph joint statement of the case for the Court to read to prospective

    jurors;

 c. proposed voir dire questions that include:

         i. the voir dire questions on which the Parties agree; and

        ii. the voir dire questions on which the Parties disagree, with specific

              objections noted below each disputed question and supporting legal

              authority (if any);

 d. the text of proposed jury instructions, which are formatted so that each instruction

    begins on a new page, and indicating:

         i. the instructions on which the Parties agree;

        ii. the instructions on which the Parties disagree, with specific objections noted

              below each disputed instruction and supporting legal authority (if any); and

              the proposed instruction’s source (e.g., the Red Book, Matthew Bender’s

              Federal Jury Instructions) or, for modified or new instructions, its

              supporting legal authority;




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            e. a list of expert witnesses, accompanied by a brief description of each witness’s area

                of expertise and expected testimony, followed by specific objections (if any) to

                each witness;

            f. a list of prior convictions that the Government intends to use for impeachment or

                any other purpose, followed by specific objections (if any) to that use;

            g. lists of exhibits that the Parties intend to use during their cases-in-chief, with a brief

                description of each exhibit, followed by specific objections (if any) to each exhibit;

            h. copies of any exhibits in dispute

            i. any stipulations executed or anticipated to be executed;

            j. a proposed verdict form that includes a date and signature line for the jury

                foreperson, as well as proposed special interrogatories (if any); and

            k. a proposed schedule for the Parties’ exchange of witness lists and Jencks Act

                material, including when such lists will be provided to the Court.

       It is further

       ORDERED that the Parties will exchange exhibit lists, which they are required to provide

with their joint pretrial statement, by January 6, 2022. The lists will consist of all exhibits that the

Parties intend to use in their cases-in-chief. The Parties will confer regarding any objections to the

proposed exhibits to narrow the issues in dispute before filing the joint pretrial statement. All

exhibits are to be marked in advance of trial and listed in order on the exhibit form obtained from

the Courtroom Deputy Clerk. The written lists of exhibits must contain a brief description of each

exhibit.




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       At the commencement of trial, counsel will furnish the Court with (1) electronic copies of

their exhibit lists and pre-marked exhibits and (2) a binder containing physical copies of their

exhibit lists and pre-marked exhibits. It is further

       ORDERED that the Government is under a continuing and ongoing obligation to provide

Defense Counsel any favorable or exculpatory information (Brady), whether or not admissible in

evidence. Brady information must be disclosed on a rolling basis—“the duty to disclose is

ongoing.” Pennsylvania v. Ritchie, 480 U.S. 39, 60 (1987). To the extent it has not already done

so, the Government must disclose information that may be useful for impeachment or may

otherwise affect the credibility of any Government witness (Giglio)—including Lewis material—

on or before January 3, 2023. See United States v. Celis, 608 F.3d 818, 835-36 (D.C. Cir. 2010).

Giglio obligations are also ongoing.

       SO ORDERED.


       DATE: October 11, 2022




                                                             Hon. Jia M. Cobb
                                                           U.S. District Court Judge




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